 Case 22-10609-amc           Doc 39-1 Filed 03/31/22 Entered 03/31/22 17:09:19                   Desc
                               Certificate of Service Page 1 of 2


                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         )
 In re:                                                  )   Chapter 11
                                                         )
 SCUNGIO BORST & ASSOCIATES, LLC,                        )   Bankruptcy No. 22-10609-AMC
                                                         )
                                                         )
                                                         )
                          Debtor.                        )
                                                         )
                                                         )   Related Dkt Nos. 6,
                                                         )

                                     CERTIFICATE OF SERVICE

        I, the undersigned, certify under penalty of perjury that I am, and at all times hereinafter
mentioned, more than 18 years of age, that on March 31, 2022, I served a copy of the limited response
and reservation of rights with respect to the Motion of Debtor for Entry of an Order Authorizing the
Rejection of Executory Contracts pursuant to 11 U.S.C. § 365 and Fed. R. Bankr. P. 6006 by first class
U.S. Mail, postage prepaid or electronically via the court’s CM/ECF system at the following addresses:

 Scungio Borst & Associates, LLC                     Aris J. Karalis
 2 Riverside Drive, Suite 500                        Karalis PC
 Camden, NJ 08103                                    1900 Spruce Street
                                                     Philadelphia, PA 19103

 Office of United States Trustee                     George M. Conway
 200 Chestnut Street, Suite 502                      United States Trustee
 Philadelphia, PA 19106                              200 Chestnut Street
                                                     Suite 502, U S Customs House
                                                     Philadelphia, PA 19106

 Federal Resources Financial Credit Union            Jersey Construction, Inc.
 520 Route 22 East                                   838 Piney Hollow Road
 Bridgewater, NJ 08807                               P.O. Box 557
                                                     Hammonton, NJ 08037

 MARX Sheet Metal & Mechanical Inc.                  Louis N. Rothberg & Son, Inc.
 373 High Street                                     550 Cedar Avenue
 Wilkes Barre, PA 18702                              Middlesex, NJ 08846

 IT Landes Company                                   Philadelphia Carpentry Systems
 247 Main Street                                     5 N. Columbus
 Harleysville, PA 19438                              Blvd., Pier 5
                                                     Philadelphia, PA 19103

 2M Electric LLC                                     William Walter Construction Group, LLC
 109 Camars Drive                                    1431 N. Tuckahoe Road
 Warwick, PA 18974                                   Williamstown, NJ 08094
 Case 22-10609-amc           Doc 39-1 Filed 03/31/22 Entered 03/31/22 17:09:19          Desc
                               Certificate of Service Page 2 of 2


 Riley Glazing Inc                              RDL Construction LLC
 200 E. Washington Street                       1044 Industrial
 Norristown, PA 19401                           Drive, Unit 1
                                                West Berlin, NJ 08091

 1st Black Hawk LLC                             Fromkin Brothers Inc.
 715 East Nields Street                         4510 Adam Circle, Unit E
 West Chester, PA 19382                         Bensalem, PA 19020

 Cippco Inc.                                    Edward B. O'Reilly & Associates, Inc.
 9323 Keystone Street                           30 West Highland Avenue
 Philadelphia, PA 19114                         Philadelphia, PA 19118

 Mayfield Site Contractors                      VIP Construction Services, Inc.
 596 Swedeland Road                             15 Fresh Ponds Road
 King of Prussia, PA 19406                      Monroe Twp., NJ 08831

 Bristol Millwork Inc.                          Portugese Structural Steel, Inc.
 4560 Tacony Street                             255 South Street
 Philadelphia, PA 19124                         Newark, NJ 07114

 Avon Brothers, Inc.
 5021 Industrial Road
 Farmingdale, NJ 07727

Dated: March 31, 2022

                                           BERNSTEIN-BURKLEY, P.C.

                                           /s/ Keri P. Ebeck
                                           Keri P. Ebeck, Esq. (PA ID No. 91298)
                                           601 Grant Street, 9th Floor
                                           Pittsburgh, PA 15219
                                           Telephone:      (412) 456-8112
                                           Facsimile:      (412) 456-8135
                                           Email:          kebeck@bernsteinlaw.com

                                           - and -

                                           BAST AMRON LLP

                                           Brett Amron (pro hac vice forthcoming)
                                           Dain de Souza (pro hac vice forthcoming)
                                           One Southeast Third Avenue, Suite 1400
                                           Miami Florida 33131
                                           Telephone:     (305) 379-7904
                                           Facsimile:     (305) 379-7905
                                           Email:         bamron@bastamron.com
                                                          ddesouza@bastamron.com

                                           Counsel to Scope FLP Pennington SM LLC
